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                      Exhibit 1
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13                           UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF CALIFORNIA - FRESNO DIVISION
14
      U.S. BANK NATIONAL ASSOCIATION,                  Case No. 1:24-cv-01105-KES-SAB
15
                             Plaintiff,     AFFIDAVIT OF DAVID P. STAPLETON
16                                          IN SUPPORT OF JOINT EX PARTE
             vs.                            APPLICATION OF PLAINTIFF U.S.
17                                          BANK NATIONAL ASSOCIATION AND
      TOUCHSTONE PISTACHIO COMPANY, LLC; RECEIVER DAVID STAPLETON FOR
      FARSHID ASSEMI; FARID ASSEMI; DARIUS FURTHER ORDER REGARDING
18    ASSEMI; NEEMA ASSEMI; MELISSA         RECEIVER’S AUTHORITY TO ENGAGE
      LAYNE; SONIA ROSEMARY ASSEMI;         AND COMPENSATE RECEIVER’S
19    MARICOPA ORCHARDS, LLC; C&A FARMS, COUNSEL
      LLC; ACDF, LLC; CANTUA ORCHARDS,
20    LLC; LINCOLN GRANTOR FARMS, LLC;
      PANOCHE PISTACHIOS, LLC; ADAMS        Action Filed: September 17, 2024
21    GRANTOR LAND, LLC; GRANVILLE
      FARMS, LLC; SAGEBERRY FARMS, LLC;
22    GRADON FARMS, LLC; MANNING AVENUE
      PISTACHIOS, LLC; ASSEMI AND SONS,
23    INC.; WINSTON FARMS, LLC; FFGT FARMS,
      LLC; FAVIER RANCH, LLC; GRANTLAND
24    FARMS, LLC; WHITESBRIDGE FARMS, LLC;
      ACAP FARMS, LLC; BEAR FLAG FARMS,
25    LLC; COPPER AVENUE INVESTMENTS,
      LLC; WILLOW AVENUE INVESTMENTS,
26    LLC; ASHLAN & HAYES INVESTMENTS,
      LLC; ASSEMI BROTHERS, LLC,
27
                             Defendants.
28
                                                   1
      AFFIDAVIT OF DAVID P. STAPLETON IN SUPPORT OF JOINT EX PARTE APPLICATION OF PLAINTIFF
      U.S. BANK NATIONAL ASSOCIATION AND RECEIVER DAVID STAPLETON FOR FURTHER ORDER
      REGARDING RECEIVER’S AUTHORITY TO ENGAGE AND COMPENSATE RECEIVER’S COUNSEL
      Case No.: 1:24-1105-KES-SAB
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 1           I, David P. Stapleton, declare as follows:

 2           1.      I am the Court-appointed receiver (the “Receiver”) of the assets and operations of

 3    Touchstone Pistachio Company, LLC (“Touchstone”) in the above-captioned matter. I make this

 4    declaration (the “Affidavit”) in support of the Joint Ex Parte Application of Plaintiff U.S. Bank

 5    National Association and Receiver David Stapleton for Further Order Regarding Receiver’s

 6    Authority to Engage and Compensate Receiver’s Counsel filed concurrently herewith (the

 7    “Application”). Capitalized terms not defined herein shall have the meanings ascribed to them in

 8    the Application and Memorandum of Points and Authorities in support thereof.

 9           2.      The Court executed the order appointing me as Receiver on September 28, 2024

10    (the “Receivership Order”). [Dkt. 32]

11           3.      I anticipate the issues in this case will require the services of qualified, experienced

12    counsel to ensure I can discharge my duties, as Receiver, of preserving, managing and

13    maximizing the value of the Receivership Property (as defined in the Receivership Order) for

14    several reasons.

15           4.      First, Touchstone’s assets and operations are but one piece of a larger enterprise of

16    companies and operations owned by the Assemi family. The other entities in that enterprise have

17    commercial relationships with Touchstone and are now subject to various related lawsuits, with

18    multiple other receivers appointed by this Court in those cases.

19           5.      In addition, administration of the Receivership Property will require me to manage

20    potential lien disputes among competing creditors, including asserted producer’s liens by

21    pistachio growers in pending state court litigation.

22           6.      Finally, disposition of the Receivership Property will require assessment and

23    potential pursuit of litigation against third parties, management of multiple sales processes for

24    crop inventory, equipment and processing facilities, and potential coordination with multiple

25    receivers and lenders who may claim rights in the proceeds.

26           7.      For these reasons, shortly after my appointment as Receiver, I sought to engage

27    Covington & Burling LLP (“Proposed Counsel”), a full-service law firm with deep experience in

28    insolvency matters, corporate dispositions, agribusiness, litigation and other relevant practice
                                                          2
      AFFIDAVIT OF DAVID P. STAPLETON IN SUPPORT OF JOINT EX PARTE APPLICATION OF PLAINTIFF
      U.S. BANK NATIONAL ASSOCIATION AND RECEIVER DAVID STAPLETON FOR FURTHER ORDER
      REGARDING RECEIVER’S AUTHORITY TO ENGAGE AND COMPENSATE RECEIVER’S COUNSEL
      Case No.: 1:24-1105-KES-SAB
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